     Case 8:23-ap-01046-SC       Doc     Filed 07/03/23 Entered 07/03/23 13:35:10               Desc Main
                                        Document      Page 1 of 2
 1    JOSHUA R. TEEPLE, CPA
      Grobstein Teeple LLP
 2    23832 Rockfield Boulevard, Suite 245
 3    Lake Forest, California 92630
      Telephone: (949) 381-5655
 4    Facsimile: (949) 381-5665                                            FILED & ENTERED
      Email: jteeple@gtllp.com; documents@gtllp.com
 5
      Accountants for Richard A. Marshack,                                       JUL 03 2023
 6
      Chapter 7 Trustee
 7                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                            Central District of California
                                                                            BY bolte      DEPUTY CLERK
 8                               UNITED STATES BANKRUPTCY COURT
 9                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10                                                            Case No. 8:23-bk-10571-SC
11      In re:                                                Chapter 11
12
        THE LITIGATION PRACTICE
13      GROUP P.C.,                                          ORDER APPROVING APPLICATION OF
                                                             CHAPTER 7 TRUSTEE, RICHARD A.
14
                                   Debtor.                   MARSHACK, FOR AUTHORIZATION TO
15                                                           EMPLOY GROBSTEIN TEEPLE LLP AS
                                                             ACCOUNTANTS EFFECTIVE MAY 12, 2023
16
17
18
19
20
21
22
23           The Court having read and considered the Notice of Application and Application Of Chapter 7
24    Trustee, Richard A. Marshack, for Authorization to Employ Grobstein Teeple LLP as Accountants
25    Effective May 12, 2023, filed June 9, 2023 as Docket #95 (“Application”), noting the lack of opposition,
26    and with good cause shown,
27           IT IS ORDERED
28           1.)    The application is approved and effective as of May 12, 2023.




                                                         1
     Case 8:23-ap-01046-SC      Doc  Filed 07/03/23 Entered 07/03/23 13:35:10 Desc Main
                                    Document       Page 2 of 2
 1         2.)     Employment is authorized pursuant to 11 U.S.C. §327 and compensation is subject to
 2                 further application, determination and approval of this Court pursuant to 11 U.S.C. §330
 3                 or §331.
 4                                                   ###
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
          Date: July 3, 2023
27
28




                                                       2
